         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 1 of 8




                                            July 1, 2024
FILED VIA ECF

The Honorable Lisa J. Cisneros
United States Magistrate Judge
U.S. District Court for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

               RE:     Homyk v. ChemoCentryx, Inc., Master File No. 4:21-cv-03343-JST

Dear Judge Cisneros:

        The parties respectfully submit this joint letter in connection with Lead Plaintiff’s request
for an order to strike Defendants’ June 18 and June 28, 2024 Supplemental Rule 26(a) disclosures.
After meeting and conferring, the parties were unable to resolve the below dispute, and accordingly
seek the Court’s guidance. In accordance with Your Honor’s Standing Order, the parties state that:
fact discovery closes on August 7, 2024; expert discovery closes December 13, 2024; summary
judgment motions are due March 20, 2025; and trial begins on September 22, 2025. The parties
met and conferred by video conference on June 25, 2024.
I.     LEAD PLAINTIFF’S POSITION

        On June 18, 2024, just weeks before the Court-ordered deadline for fact discovery—and
nearly a year and a half after fact discovery began and Rule 26(a) disclosures were due—
Defendants attempted to “supplement” their Rule 26(a) disclosures with ten new witnesses,
doubling the number of previously-identified witnesses, and an entirely new, expansive subject
area of testimony: the “use of” ChemoCentryx’s drug, avacopan. Then, two weeks later, on June
28, 2024—after Lead Plaintiff sent Defendants their portion of this dispute letter—Defendants
attempted to add yet another witness.1 Defendants’ attempts to sandbag Plaintiff at the twilight of
discovery are an improper violation of Rule 26 and should be stricken under Rule 37.
        Plaintiff has spent the last year and a half adducing copious discovery, including seeking
and reviewing hundreds of thousands of documents from numerous parties and deposing multiple
witnesses, in reliance on Defendants’ April 2023 Rule 26(a) disclosures. If allowed to stand,
Defendants’ “Supplemental Disclosures” would require a re-do of that discovery, including
seeking voluminous additional document discovery, re-deposing numerous third-party witnesses
scattered across the country, deposing Defendants’ newly-identified witnesses, and conducting
follow-up discovery that flows from those depositions. As courts in this Circuit have repeatedly

1
  These ten new witnesses identified on June 18 are: (1) two scientific consultants, Christian
Pagnoux and Ulrich Spechs, who have little, if any, first-hand knowledge of the events in litigation;
(2) a paid ChemoCentryx spokesperson, Glen Massie; (3) five securities analyst firms; (4) Dalia
Rayes, a former ChemoCentryx executive; and (5) MedPace, a clinical research organization that
helped administer the ADVOCATE trial. Two weeks later, Defendants identified John Stone as
testifying about “secondary endpoints,” even though he did not attend a single FDA meeting at
which those endpoints were discussed, produced a handful of documents in July 2023, and is a
correspondent on just 83 of the 120,000 emails Defendants produced.
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 2 of 8

The Honorable Lisa J. Cisneros
Page 2 of 8
held under similar circumstances, Defendants’ supplemental disclosures must be stricken under
Rule 37. See, e.g., Baird v. Blackrock Inst. Tr. Co., N.A., 330 F.R.D. 241, 243 (N.D. Cal. 2019)
(striking 8 witnesses not disclosed until 1.5 months before the close of fact discovery); Johnson v.
Couturier, 2009 WL 3169965, at *1 (E.D. Cal. Sept. 28, 2009) (striking witnesses not disclosed
until 2 months before the close of fact discovery); Spencer v. Peters, 2012 WL 6608616, at *1
(W.D. Wash. Dec. 18, 2012) (striking 7 witnesses not disclosed until 1 month before close of fact
discovery, given the “quantity and proximity of disclosure to the discovery cutoff date”).
        Defendants’ Disclosures Are “Untimely.” Rule 26 requires parties to identify the
witnesses on which they may rely to support their case at the outset of discovery. While the Rule
also allows for supplementation of those disclosures, it “does not create a ‘loophole’ for a party
who wishes to revise its initial disclosures to its advantage.” Carrillo v. B & J Andrews Enters.,
LLC, 2013 WL 420401, at *4 (D. Nev. Jan. 31, 2013). Instead, supplementation is allowed only
where it is made (1) “in a timely manner”; and (2) “based on information that was not available
at the time of the initial disclosure.” Luke v. Fam. Care & Urgent Med. Clinics, 323 F. App’x
496, 500 (9th Cir. 2009); Fed. R. Civ. P. 26(e).
         This case has been pending for three years, and discovery has been ongoing for a year-
and-a-half. The newly-disclosed witnesses were known to Defendants long before discovery
began: they are executives of ChemoCentryx, individuals and entities involved in the
ADVOCATE trial, and analysts reporting on the Company. There have been no developments in
discovery that suddenly and surprisingly made either these witnesses or the broad newly-disclosed
topic relevant; indeed, during the parties’ meet-and-confer, Defendants could not identify any.
Defendants asserted that some of their newly-disclosed witnesses (they did not say which) became
relevant after Plaintiff cited evidence that ChemoCentryx manipulated ADVOCATE trial data in
its class certification reply brief (even though Defendants do not confine their new disclosures to
this discrete subject and no new witnesses have any ostensible connection to this issue). But that
brief was filed six months ago. Even assuming Defendants’ assertion is true, they do not, and
cannot, offer any justification why they waited six months to disclose these witnesses.
        Defendants Did Not Otherwise “Make Known” Their Intent To Rely Upon Trial
Testimony From These Witnesses. Plaintiff had no reason to know that Defendants would rely
on these witnesses at trial. Shenwick v. Twitter, Inc, 2021 WL 1232451, at *2 (N.D. Cal. Mar. 31,
2021) (Tigar, J.) (reliance on the subjects or witnesses at issue “must be in such a form and of such
specificity as to be the functional equivalent of a supplemental discovery response; merely pointing
to places in the discovery where the information was mentioned in passing is not sufficient”). None
of the ten witnesses have been deposed. Three of the witnesses—Pagnoux, Spechs, and Massie—
are nowhere referenced in any of the deposition testimony nor in any of the hundreds of deposition
exhibits in this case. Indeed, on the parties’ meet and confer, Defendants acknowledged Massie
“would not be on [Plaintiff’s] radar.” Two of the witnesses, Rayes and Stone, were referenced just
a single time in passing in a single deposition: Rayes as the author of a single email, while a
witness casually mentioned Stone’s work unrelated to avacopan (Stone is not a correspondent on
any deposition exhibits). And Defendants have not identified whom at the six newly-identified
entities they intend to call at trial, stating instead an unidentified “research analyst or other
designated representative.”
        Defendants’ Belated Disclosure Was Neither “Harmless” Nor “Substantially
Justified.” Because Defendants’ supplemental disclosures were untimely, Rule 37 requires the
Court to strike them. Rule 37’s exclusionary sanction is “self-executing and automatic,” unless
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 3 of 8

The Honorable Lisa J. Cisneros
Page 3 of 8
Defendants can show that their lack of compliance with Rule 26 was harmless or substantially
justified. In re Twitter Inc. Sec. Litig., 2020 WL 485547, at *3 (N.D. Cal. Jan. 30, 2020) (Tigar,
J.). Here, Defendants cannot meet their heavy burden to show either.
        First, courts routinely hold that failure to supplement disclosures until weeks before the
close of fact discovery is not harmless. Plexxikon Inc. v. Novartis Pharms. Corp., 2019 WL
12038882, at *2 (N.D. Cal. Sept. 9, 2019) (“Courts in this District have precluded parties from
using witnesses disclosed even before the close of fact discovery where their initial disclosures
were not timely supplemented.”); Baird, 330 F.R.D. at 247; Spencer, 2012 WL 6608616, at *1.
Here, for the last fourteen months, Plaintiff conducted extensive discovery in reliance on
Defendants’ Rule 26 disclosures. Plaintiff (1) served 79 document requests, 8 interrogatories, and
73 requests for admission; (2) sought and obtained documents from 33 third parties; (3) developed
a strategy for reviewing the voluminous documentary record in this case; (4) developed a
deposition plan that fit within agreed upon deposition limits; and (5) deposed 9 witnesses,
including numerous third-party witnesses located all across, and even outside the country, who
were identified in Defendants’ Rule 26 disclosures.
        Allowing Defendants’ belated “supplement” to stand would require Plaintiff to redo this
discovery. Plaintiff would, among other things, need to seek and obtain new document discovery,
including from multiple third parties not controlled by Defendants; depose not only Defendants’
ten newly-disclosed witnesses, but also re-depose multiple third-party witnesses located all over
the country about Defendants’ newly disclosed topics; amend interrogatories; and issue new
requests for admission. Plaintiff simply cannot do all this in the few remaining weeks of fact
discovery, particularly as Defendants have so far declined Plaintiff’s request for additional
discovery related to these newly-disclosed topics and witnesses. Finjan, Inc. Proofpoint, Inc., 2015
WL 9900617, at *3 (N.D. Cal. Oct. 26, 2015), at *3 (holding it was “not reasonable to expect
plaintiff to divert time and resources to prepare for and take the depositions of [two witnesses],
who were disclosed at the eleventh hour”). Even putting this aside, Plaintiff has exhausted 14 of
its 15 allotted depositions and cannot depose the newly disclosed witnesses. Reich v. Am. Fam.
Mut. Ins. Co., 2015 WL 3619862, at *2 (D. Colo. June 9, 2015) (finding prejudice where a late
disclosure foreclosed a party’s ability to “make intelligent decisions regarding how [to] efficiently
use the limited number of depositions permitted under the Rule 16 scheduling order.”).2
       Second, as discussed above, Defendants’ belated disclosure was not justified. Defendants
have not—and cannot—identify any legitimate reason why they could not have supplemented their
disclosures months earlier, or, indeed, included these witnesses on their Rule 26 disclosures in
April 2023. See Baird, 330 F.R.D. at 248 (finding untimely supplemental disclosure made near the
end of discovery not justified when the supplementing party “could not explain why it could not
have timely amended its disclosures” earlier); Finjan, 2015 WL 9900617, at *3 (same).

       Finally, if the Court allows Defendants to “supplement” their Rule 26 disclosures at this

2
  Further expanding the already lengthy discovery schedule would not cure the harm Defendants
have caused. Shenwick, 2021 WL 1232451, at *2 (further delay “would unreasonably burden
Plaintiffs and potentially disrupt the parties’ and the Court’s schedule”). This is particularly true
here where, after granting Defendants’ motion for an extended discovery schedule, the Court
warned that “the parties must take all necessary steps to conduct discovery” and the date of the
trial “should be regarded as firm.” ECF 148.
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 4 of 8

The Honorable Lisa J. Cisneros
Page 4 of 8
late stage, Plaintiff requests that the Court order Defendants, before the August 2, 2024 discovery
deadline and at their costs, to (1) produce all documents related to the newly-disclosed witnesses
and subject matter through the present; (2) make available for deposition the newly-identified
witnesses; and (3) produce for deposition all of the previously-deposed witnesses about the newly-
identified witnesses and subject matter.
   II. DEFENDANTS’ POSITION

        The purpose of Rule 26(a) Disclosures is to “encourage parties to try cases on the merits,
not by surprise, and not by ambush.” Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843,
862 (9th Cir. 2014). As required by Rule 26, Defendants twice supplemented their Initial
Disclosures in a timely manner, with nearly two months remaining in discovery, more than a year
and a half before trial, and before Plaintiff updated its own discovery responses or pleadings to
articulate its new case theories. Plaintiff appears to argue that it is permitted to invent new falsity
theories mid-case, but Defendants cannot identify witnesses or evidence to rebut those theories.
Far from being prejudiced, Plaintiff seeks to turn Defendants’ compliance with the Rules into an
unfair advantage for itself. Plaintiff’s Motion to Strike should be denied.
        Plaintiff complains about two categories of witnesses: (1) seven witnesses who have
appeared throughout the discovery record and are well-known to Plaintiff; and (2) four witnesses
who were added in direct response to Plaintiff’s new theory of fraud. As to the former, there is no
prejudice by adding a ChemoCentryx executive from whose files Defendants produced more than
66,000 documents, or the analyst firms and doctor that Plaintiff itself subpoenaed. As to the other
four witnesses, they were added promptly following Plaintiff’s new theory that Defendants
“manipulated [ADVOCATE] trial data” ECF 101-3 at 13. This (false) theory of fraud appears
nowhere in Plaintiff’s 200-page Amended Complaint, Rule 26 Disclosures, or 300 pages of
interrogatory responses (which Plaintiff has not yet supplemented). And when Defendants moved
to strike this allegation, ECF 109, the Court chose “not [to] conside[r]” Plaintiff’s new theory for
class certification, but did not strike the allegation, ECF 131 at 14 n.2. Plaintiff now acts as if its
new theory is fair game, and it has been the centerpiece of its recent depositions.
        Legal Standard. Rule 26(a)(1)(A)(i) requires parties to disclose the “name” of witnesses
and “subjects of . . . information” that the party “may use to support its claims or defenses.” This
obligation is ongoing, and a party “must supplement” its disclosures “in a timely manner if [it]
learns that in some material respect the disclosure . . . is incomplete.” Rule 26(e)(1)(A); see
Looksmart Grp., Inc. v. Microsoft Corp., 386 F. Supp. 3d 1222, 1230 (N.D. Cal. 2019) (“[A]s
theories mature and as the relevance of various items of evidence changes, [discovery must] be
corrected or supplemented to reflect those changes.”); 1993 Advisory Committee Note (“[A]s the
issues in the pleadings are clarified, [parties] should supplement [their] disclosures[.]”).
       But this duty does not elevate “form over substance,” V5 Techs. v. Switch, Ltd., 334 F.R.D.
615, 617 (D. Nev. 2020), and a party need not serve updated disclosures if the supplemental
information has previously “been made known . . . during the discovery process,” Rule
26(e)(1)(A). While the supplementing party must do more than “poin[t] to places . . . where the
information was mentioned in passing,” Twitter, 2021 WL 1232451, at *2, the ultimate question
is “whether the opposing party had meaningful notice to prepare its case.” V5, 334 F.R.D. at 617-
18; see also Brandon v. Mare-Bear, Inc., 225 F.3d 661 (9th Cir. 2000) (describing the Rules’
“principal goa[l]” of “preventing trial by ambush and surprise”).
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 5 of 8

The Honorable Lisa J. Cisneros
Page 5 of 8
       Even if a party’s supplemented disclosures are neither “timely” nor “known,” the Court
may still allow supplemental disclosures if they are “harmless.” Rule 37(c)(1); California v. Ross,
2019 WL 1975437, at *1-2 (N.D. Cal. Jan. 4, 2019) (allowing supplemental disclosure “within a
month of trial” because ability to conduct discovery rendered disclosure harmless).3
        Dalia Rayes, the Analyst Firms, and Dr. Stone Were “Made Known” In Discovery
and Supplementation Is Harmless. Plaintiff disingenuously claims it lacked notice of seven
witnesses with whom it is well-familiar. First, Plaintiff has known about Dalia Rayes since the
start of discovery and affirmatively requested that Defendants produce documents from her
custodial file. In an August 22, 2023 email, Plaintiff’s counsel described Ms. Rayes as “patently
relevant” and cited produced evidence in support. Defendants produced 66,926 of her documents
spanning a quarter million pages (i.e., 10% of the total discovery record). This is more than
sufficient to provide meaningful notice such that Plaintiff could prepare its case. See, e.g., All Star
Seed v. Nationwide Agribusiness Ins. Co., 2013 WL 1882260, at *10 (S.D. Cal. May 3, 2013) (no
surprise when witness was disclosed on 35 emails spanning 234 pages).
        Second, Plaintiff had notice of the significance of the five analyst firms for years. The
Amended Complaint (filed in 2022) contains more than ninety statements of “analysts” covering
ChemoCentryx in purported support of its allegations, and it specifically names four of the five at-
issue analyst firms in its allegations. See, e.g., ECF 47 ¶¶ 227-400. In fact, Plaintiff served
subpoenas on each of the five analyst firms it seeks to strike from Defendants’ disclosures.
Plaintiff has cited no case (and Defendants are aware of none) where a Court found a party to be
“ambushed” by a witness it subpoenaed. See Amadio v. Glenn, 2011 WL 13227675, at *4 (E.D.
Pa. Dec. 23, 2011) (“[Parties’] subpoena . . . undermin[ed] their claim of surprise or prejudice.”).
       The same is true of Dr. Stone, who Plaintiff subpoenaed on June 23, 2023. Plaintiff
contends that Dr. Stone “[was] referenced just a single time in passing in a single deposition,” but
ignores that it had previously subpoenaed Dr. Stone, that Dr. Stone produced more than 100
documents, and that Dr. Stone is referenced in more than 1,000 additional documents in the
discovery record. Just because Plaintiff’s subpoena to Dr. Stone uncovered evidence favorable to
Defendants does not mean that Plaintiff can claim “prejudice” by his supplemental disclosure.
       Medpace, Pagnoux, Specks, and Massie Rebut Plaintiff’s New Theory. In its Amended
Complaint, motion to dismiss briefing, initial disclosures, and interrogatory responses, Plaintiff
alleged that Defendants hid the FDA’s negative feedback about ADVOCATE from investors.
Then, in its class certification reply, Plaintiff added a new and baseless theory: that Defendants
manipulated clinical trial data to trick the FDA into approving TAVNEOS®. As Defendants
learned more about Plaintiff’s theory through its deposition questions and discovery requests (and
before Plaintiff supplemented its pleadings, disclosures, or discovery responses with this theory),
and with almost two months remaining in discovery, Defendants supplemented their Rule 26
Disclosures to add witnesses they “may use to support [their] . . . defenses.” FRCP 26(a)(1)(A)(i);

3
 Plaintiff cites a list of cases purportedly showing that parties may not supplement their disclosures
near the end of discovery, but all are distinguishable. Defendants supplemented their disclosures
with more time left in discovery than the parties in all but one case cited by Plaintiff. E.g., Reich,
2015 WL 3619862, at *2 (disclosure two months after discovery closed); Baird, 330 F.R.D. 241,
243 (less than three weeks remaining); Spencer, 2012 WL 6608616, at *1-2 (less than a month
remaining); Johnson, 2009 WL 3169965, at *1 (two months remaining). And in Johnson, the court
allowed eleven new witnesses to be disclosed. 2009 WL 3169965, at *1-2.
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 6 of 8

The Honorable Lisa J. Cisneros
Page 6 of 8
26(e)(1). This is exactly what the Rules require litigants to do. Each of Defendants remaining
four witnesses is necessary to debunk aspects of Plaintiff’s new fraud theory:
    1. Medpace administered the ADVOCATE trial. Medpace was responsible for maintaining
       the integrity of ADVOCATE trial data and signed off on re-adjudication of certain patients.
       Plaintiff’s recent letter to the FDA characterizes this as “manipulation of clinical trial data,”
       and is thus equally directed to, and critical of, Medpace’s conduct.
    2. Drs. Pagnoux and Specks treated patients during ADVOCATE. ADVOCATE was
       conducted by investigators, including Drs. Pagnoux and Specks. Until Plaintiff’s new
       position that data manipulation is at issue in this case, patient-level data from ADVOCATE
       (which Drs. Pagnoux and Specks are familiar with) was not relevant or in dispute. See id.4
    3. Massie is a patient who used TAVNEOS®. Until Plaintiff’s new position, there was no
       dispute that TAVNEOS® was an effective drug. This Court previously ruled that Plaintiff
       could not “share [confidential material] with the FDA,” ECF 136, but Plaintiff has renewed
       its request for FDA testimony “relating to [the] efficacy” of this drug since the Court’s
       ruling. Defendants intend to adduce evidence of its effectiveness and effects through Mr.
       Massie, a patient who has used TAVNEOS®.
        Plaintiff’s “Alternative Relief” Is Unwarranted. Plaintiff alternatively requests that the
Court require Defendants to produce even more documents and witnesses and re-open completed
depositions. This is an extraordinary and unnecessary remedy given that Plaintiff has already
subpoenaed most of the supplemental witnesses. Plaintiff has also not explained why it needs to
re-open depositions—Plaintiff asked witnesses about Defendants’ disclosures, avacopan’s safety
and efficacy, and the integrity of the ADVOCATE data. Nor has Plaintiff explained why it needs
additional depositions given that it has only taken 9 of its 15 allotted depositions and can depose
whichever witnesses it wants.5 For these reasons, Plaintiff’s relief should be denied.


                                           *       *       *       *

       The parties appreciate the Court’s attention to this matter.


       Respectfully submitted,


4
  Plaintiff was also “made known” of Medpace, Pagnoux, and Specks “during the discovery
process.” Rule 26(e)(1)(A). “Medpace” is referenced in 107,705 documents (24% of produced
documents); Plaintiff subpoenaed Medpace and moved to compel additional productions. See in
re Subpoena to Medpace, Inc., No. 1:23-cv-00739 (S.D. Ohio). Pagnoux and Specks are each
referenced in more than 10,000 produced documents, are publicly listed as ADVOCATE
investigators, ECF 87-6 at 2, 6, and Plaintiff subpoenaed multiple other investigators.
5
  Nor has Plaintiff used its noticed depositions efficiently. For instance, Plaintiff elected to depose
four witnesses—Dr. Richard Glassock, Dr. Willis Maddrey, Dr. David Goodkin, and Dr. Chao
Wang—despite those witnesses appearing on neither party’s Rule 26 Disclosures. Plaintiff is free
to use its 15 depositions however it chooses, but cannot later complain about its choices.
         Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 7 of 8

The Honorable Lisa J. Cisneros
Page 7 of 8


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        Case 4:21-cv-03343-JST Document 156 Filed 07/01/24 Page 8 of 8

The Honorable Lisa J. Cisneros
Page 8 of 8
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